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                UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                        PANAMA CITY DIVISION

MICHAEL ALFORD,
    Plaintiff,

v.                                                 Case No. 5:20cv305-RV-HTC

FCI MARIANNA FLORIDA, et al.,
     Defendants.
________________________/

                                     ORDER

      The magistrate judge issued a Report and Recommendation on March 1, 2021

(ECF No. 15).       The parties were furnished a copy of the Report and

Recommendation and afforded an opportunity to file objections pursuant to Title 28,

United States Code, Section 636(b)(1). The plaintiff has filed objections (ECF No.

16). I have made a de novo determination of all timely filed objections.

      Having considered the Report and Recommendation, and the timely filed

objections thereto, I have determined the Report and Recommendation should be

adopted.

      Accordingly, it is now ORDERED as follows:

      1.     The magistrate judge’s Report and Recommendation (ECF No. 15) is

adopted and incorporated by reference in this order.




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      1.     This case is DISMISSED WITHOUT PREJUDICE as malicious for

Plaintiff’s abuse of the judicial process.

      2.     The clerk of court is directed to close the file.

      DONE AND ORDERED this 19th day of March 2021.


                                    /s/ Roger Vinson
                                   ROGER VINSON
                                   SENIOR UNITED STATES DISTRICT JUDGE




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